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                       IN THE UNITED STATES DISTRICT COURT FOR
                           THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )             CR NO. 2:24CR488-MHT-SMD
                                                  )                  (WO)
NICHOLAS RYAN JACKSON                             )

                               ORDER ON ARRAIGNMENT
       On February 20, 2025, the defendant, Nicholas Ryan Jackson, appeared in person and in
open court with counsel, Mackenzie Lund, and was arraigned in accordance with the provisions of
Rule 10 of the Federal Rules of Criminal Procedure.

       PLEA. The defendant entered a plea of NOT GUILTY. Counsel for the defendant is
requested to contact the U.S. Attorney immediately if the defendant intends to engage in plea
negotiations. If the defendant decides to change this plea, the parties shall file a notice of intent to
plead guilty or otherwise notify the clerk’s office at or before the pretrial conference and then this
action will be set on a plea docket.

        PRELIMINARY SENTENCING GUIDELINES INFORMATION. The court no
longer requires the United States Probation Office to provide preliminary sentencing guideline
information to defendants. However, in difficult or complex cases defendants may request the
United States Probation Office to provide Sentencing Guideline calculation assistance with the
understanding that any estimate is tentative only and is not binding on the United States Probation
Office, the parties or the court. The court expects that requests for Sentencing Guideline calculation
assistance shall be the exception and that defendants will not make such requests a matter of
routine. A request for Sentencing Guideline calculation assistance shall be made in writing to the
supervisor of the Presentence Investigation Unit of the United States Probation Office not later
than 10 days from the date of this order. The calculation shall be completed not later than one
week before the pretrial conference.

        PRETRIAL CONFERENCE. An initial pretrial conference is hereby set for March 12,
2025 at 11:00 a.m. Courtroom 4A, Frank M. Johnson, Jr. Federal Building and United States
Courthouse Complex, One Church Street, Montgomery, Alabama before United States Magistrate
Judge Stephen M. Doyle. Not later than three days prior to the date of the pretrial conference,
counsel shall confer about the issues and matters to be discussed at the pretrial conference
as set forth in this order. Counsel who want in-custody defendants to attend must notify the
Magistrate Judge within three days of the conference date so that an order to produce can be issued
to the United States Marshal.

       At the pretrial conference defense counsel and counsel for the government shall be fully
prepared to discuss all pending motions, the status of discovery, possible stipulations, and the
estimated length of the trial. Defense counsel and counsel for the government shall be fully
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prepared to provide a definite commitment as to the final disposition of this case - by trial, plea or
other non-trial disposition. If resolution of a dispositive motion will affect the nature of this
commitment, counsel must be fully prepared to discuss this type of resolution. If the case is for
plea, the notice of intent to enter a plea should be filed at the time of the pretrial conference. If
counsel require additional time for plea negotiations, counsel should be prepared to inform the
court about the date when those negotiations will be completed.

      TRIAL. The case is set for trial before United States District Judge Myron H.
Thompson on the trial term beginning on August 11, 2025, at 10:00 a.m., in Montgomery,
Alabama, unless otherwise ordered by the court.

        In setting this case for trial on the term indicated above, the court recognizes that the
Speedy Trial Act places limits on the court’s discretion, and that under the act, the trial of a
defendant must commence within 70 days of the date of the indictment or the date of the
defendant’s first appearance before a judicial officer, whichever is later. 18 U.S.C. § 3161(c)(1).
In determining whether a case should be set after the expiration of the 70 day period, a court must
consider among other factors “[w]hether the failure to [set the case at a later date] ... would be
likely to ... result in a miscarriage of justice.” 18 U.S.C. § 3161(h)(7)(B)(I). The court also must
consider “whether the failure to grant such a continuance ... would deny counsel for the defendant
or the attorney for the government the reasonable time necessary for effective preparation, taking
into account the exercise of due diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv). Based on the nature of
this case, and the need for counsel to have adequate time for investigation, the court finds that the
ends of justice served by setting this case on this trial term outweigh the best interest of the public
and the defendant in a speedy trial.

        PRETRIAL MOTIONS. All pretrial motions under Fed.R.Crim.P. 12(b) and (d), 14 and
16, all notices under Fed.R.Crim.P. 12.1, 12.2 and 12.3, and any motion to compel pursuant to
M.D. Ala. LCrR 16.1 Criminal Discovery (a copy of this Rule may be found at
http://www.almd.uscourts.gov/forms/almd-local-rules) must be filed no later than TWO DAYS
BEFORE THE FIRST PRETRIAL CONFERENCE HELD IN THIS CASE, except that if
the pretrial conference falls on Monday, the deadline for filing pretrial motions is always the
preceding Wednesday. No motion filed after this date will be considered unless filed with leave
of court. A continuance of the pretrial conference or trial does not extend the motions deadline.
THE CONFERENCING REQUIREMENT SET FORTH IN M.D. Ala. LCrR 16.1(C)
CRIMINAL DISCOVERY SHALL BE MET BEFORE THE COURT WILL CONSIDER
ANY DISCOVERY MOTION. THE COURT WILL DENY MOTIONS TO ADOPT
MOTIONS FILED BY OTHER DEFENDANTS.

        Motions to suppress must allege specific facts which, if proven, would provide a basis of
relief. This court will summarily dismiss suppression motions which are supported only by general
or conclusory assertions founded on mere suspicion or conjecture. All grounds upon which the
defendant relies must be specifically stated in the motion in separately numbered paragraphs
in a section of the motion which is labeled "Issues Presented". Grounds not stated in the
"Issues Presented" section of the motion will be deemed to have been waived. See generally
United States v. Richardson, 764 F.2d 1514,1526-27 (11th Cir. 1985).
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       The government shall file a response to all motions filed by the defendant on or before
five days prior to the date set for a hearing on the motion or, if no hearing is necessary, on or
before ten days after the date of the pretrial conference.

         DISCOVERY. All discovery in this action shall be conducted according to the
requirements of M.D. Ala. LCrR 16.1 Criminal Discovery. Unless the government provided
initial disclosures to defendant prior to or at arraignment, the government is ORDERED to tender
initial disclosures to the defendant on or before February 20, 2025. Disclosures by the defendant,
as required by M.D. Ala. LCrR 16.1(a)(4) shall be provided on or before February 27, 2025.

        JENCKS ACT STATEMENTS. The government agrees to provide defense counsel with
all Jencks Act statements no later than the day scheduled for the commencement of the trial. 1

         MANDATORY APPEARANCE OF COUNSEL. Counsel of record for all parties are
ORDERED to appear at all future court proceedings in this criminal case. Those attorneys who
find it impossible to be in attendance (especially at the pretrial conference, jury selection, or trial)
must make arrangements to have substitute counsel appear on behalf of their clients. Any attorney
who appears as substitute counsel for a defendant shall have full authorization from the defendant
to act on his or her behalf and be fully prepared to proceed. Substitute counsel shall not be counsel
for a co-defendant unless permitted by the court after proper motion. Any counsel who wishes to
have substitute counsel appear must obtain permission of the court in advance.

       NOTE: Except in extraordinary circumstances or circumstances in which the
Constitution would require it, the court will not entertain motions to withdraw filed by
counsel who appear at arraignment unless the motions are filed within fourteen days of the
date of this order. Failure to obtain fees from a client is not an extraordinary circumstance.

          DONE this 21st day of February, 2025.




                                                  Stephen M. Doyle
                                                  CHIEF U.S. MAGISTRATE JUDGE




1
    In certain complex cases, the government may agree to earlier production.
